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            EXHIBIT 5
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No.   Case Name                                                         Date Filed   Docket Number (in W.D. Mot. for Alt.
                                                                                     Tex., except as noted) Service

1     Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      2/19/2021 6:21cv155
      Netgear, Inc.
2     Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      2/19/2021 6:21cv153
      Netgear, Inc.
3     Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      2/19/2021 6:21cv154
      Netgear, Inc.
4     Wsou Investments, Llc V. Cisco Systems, Inc.                          2/5/2021 6:21cv128

5     Wsou Investments, Llc V. F5 Networks, Inc.                           1/29/2021 2:21cv125 (W.D. Wash.)

6     Wsou Investments, Llc V. F5 Networks, Inc.                           1/29/2021 2:21cv123 (W.D. Wash.)

7     Wsou Investments, Llc V. F5 Networks, Inc.                           1/29/2021 2:21cv126 (W.D. Wash.)

8     Wsou Investments, Llc V. F5 Networks, Inc.                           1/29/2021 2:21cv124 (W.D. Wash.)

9     Wsou Investments Llc V. F5 Networks Inc                            12/30/2020 2:20cv1878 (W.D. Wash.)

10    Wsou Investments Llc V. Salesforce.Com, Inc.                       12/18/2020 6:20cv1165

11    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1172
      Salesforce.Com, Inc.
12    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1167
      Salesforce.Com, Inc.
13    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1169
      Salesforce.Com, Inc.
14    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1171
      Salesforce.Com, Inc.
15    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1166
      Salesforce.Com, Inc.
16    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1168
      Salesforce.Com, Inc.
17    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1170
      Salesforce.Com, Inc.
18    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1163
      Salesforce.Com, Inc.
19    Wsou Investments Llc D/B/A Brazos Licensing And Development V.     12/18/2020 6:20cv1164
      Salesforce.Com, Inc.
20    Wsou Investments, Llc D/B/A Brazos Licensing And Development V.    11/25/2020 6:20cv1083
      Arista Networks, Inc.
21    Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      11/6/2020 1:20cv1331 (E.D. Va.)
      F5 Networks, Inc.
22    Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      11/6/2020 3:20cv856 (E.D. Va.)
      F5 Networks, Inc.
23    Wsou Investments Llc V. Tp-Link Technology Co., Ltd.               10/31/2020 6:20cv1013                ECF No. 10

24    Wsou Investments Llc V. Tp-Link Technology Co., Ltd.               10/31/2020 6:20cv1014                ECF No. 10
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25   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1019   ECF No. 10

26   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1022   ECF No. 10

27   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1016   ECF No. 10

28   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1020   ECF No. 10

29   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1015   ECF No. 10

30   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1018   ECF No. 10

31   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1012   ECF No. 10

32   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1017   ECF No. 10

33   Wsou Investments Llc V. Tp-Link Technology Co., Ltd.              10/31/2020 6:20cv1021   ECF No. 10

34   Wsou Investments Llc V. Canon, Inc.                               10/19/2020 6:20cv984    ECF No. 8

35   Wsou Investments Llc V. Canon, Inc.                               10/19/2020 6:20cv980    ECF No. 8

36   Wsou Investments Llc V. Canon, Inc.                               10/19/2020 6:20cv982    ECF No. 8

37   Wsou Investments Llc V. Canon, Inc.                               10/19/2020 6:20cv985    ECF No. 8

38   Wsou Investments Llc V. Canon, Inc.                               10/19/2020 6:20cv981    ECF No. 8

39   Wsou Investments Llc V. Oneplus Technology (Shenzhen) Co., Ltd.   10/14/2020 6:20cv956    ECF No. 8

40   Wsou Investments Llc V. Oneplus Technology (Shenzhen) Co., Ltd.   10/14/2020 6:20cv953    ECF No. 8

41   Wsou Investments Llc V. Oneplus Technology (Shenzhen) Co., Ltd.   10/14/2020 6:20cv958    ECF No. 8

42   Wsou Investments Llc V. Oneplus Technology (Shenzhen) Co., Ltd.   10/14/2020 6:20cv952    ECF No. 8

43   Wsou Investments Llcv. Oneplus Technology (Shenzhen) Co., Ltd.    10/14/2020 6:20cv957    ECF No. 8

44   Wsou Investments Llc V. Nec Corporation                            10/7/2020 6:20cv925    ECF No. 8

45   Wsou Investments Llc V. Nec Corporation                            10/7/2020 6:20cv927    ECF No. 8

46   Wsou Investments Llc V. Nec Corporation                            10/7/2020 6:20cv926    ECF No. 8

47   Wsou Investments Llc D/B/A Brazos Licensing And Development V.     10/7/2020 6:20cv923    ECF No. 8
     Nec Corporation
48   Wsou Investments Llc D/B/A Brazos Licensing And Development V.     10/7/2020 6:20cv924    ECF No. 8
     Nec Corporation
49   Wsou Investments Llc D/B/A Brazos Licensing And Development V.     10/2/2020 6:20cv916
     Huawei Technologies Co. Ltd. Et Al
50   Wsou Investments Llc D/B/A Brazos Licensing And Development V.     10/2/2020 6:20cv917
     Huawei Technologies Co. Ltd. Et Al
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51   Wsou Investments Llc V. Juniper Networks, Inc.                    9/30/2020 6:20cv903

52   Wsou Investments Llc D/B/A Brazos Licensing And Development V.    9/30/2020 6:20cv902
     Juniper Networks, Inc.
53   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al       9/29/2020 6:20cv891

54   Wsou Investments Llc D/B/A Brazos Licensing And Development V.    9/29/2020 6:20cv890
     Huawei Technologies Co., Ltd. Et Al
55   Wsou Investments Llc D/B/A Brazos Licensing And Development V.    9/29/2020 6:20cv892
     Huawei Technologies Co., Ltd. Et Al
56   Wsou Investments Llc D/B/A Brazos Licensing And Development V.    9/29/2020 6:20cv893
     Huawei Technologies Co., Ltd. Et Al
57   Wsou Investments Llc D/B/A Brazos Licensing And Development V.    9/29/2020 6:20cv889
     Huawei Technologies Co., Ltd. Et Al
58   Wsou Investments, Llc V. Xilinx, Inc.                             9/16/2020 1:20cv1233 (D. Del.)

59   Wsou Investments, Llc V. Xilinx, Inc.                             9/16/2020 1:20cv1231 (D. Del.)

60   Wsou Investments, Llc V. Xilinx, Inc.                             9/16/2020 1:20cv1228 (D. Del.)

61   Wsou Investments, Llc V. Xilinx, Inc.                             9/16/2020 1:20cv1229 (D. Del.)

62   Wsou Investments, Llc V. Xilinx, Inc.                             9/16/2020 1:20cv1232 (D. Del.)

63   Wsou Investments, Llc V. F5 Networks, Inc.                        9/15/2020 3:20cv720 (E.D. Va.)

64   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 3:20cv724 (E.D. Va.)
     F5 Networks, Inc.
65   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 1:20cv1085 (E.D. Va.)
     F5 Networks, Inc.
66   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 1:20cv1084 (E.D. Va.)
     F5 Networks, Inc.
67   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 3:20cv719 (E.D. Va.)
     F5 Networks, Inc.
68   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 3:20cv721 (E.D. Va.)
     F5 Networks, Inc.
69   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 3:20cv722 (E.D. Va.)
     F5 Networks, Inc.
70   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 1:20cv1083 (E.D. Va.)
     F5 Networks, Inc.
71   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 1:20cv1082 (E.D. Va.)
     F5 Networks, Inc.
72   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   9/15/2020 1:20cv1081 (E.D. Va.)
     F5 Networks, Inc.
73   Wsou Investments Llc V. Juniper Networks, Inc.                     9/4/2020 6:20cv815

74   Wsou Investments Llc V. Juniper Networks, Inc.                     9/4/2020 6:20cv813

75   Wsou Investments Llc V. Juniper Networks, Inc.                     9/4/2020 6:20cv814

76   Wsou Investments Llc V. Juniper Networks, Inc.                     9/4/2020 6:20cv812
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77    Wsou Investments Llc D/B/A Brazos Licensing And Development V.    9/4/2020 6:20cv816
      Juniper Networks, Inc.
78    Wsou Investments Llc D/B/A Brazos Licensing And Development V.   8/26/2020 6:20cv783
      Hewlett Packard Enterprise Company
79    Wsou Investments Llc V. Hewlett Packard Enterprise Company       8/12/2020 6:20cv728

80    Wsou Investments Llc V. Hewlett Packard Enterprise Company       8/12/2020 6:20cv729

81    Wsou Investments Llc V. Hewlett Packard Enterprise Company       8/12/2020 6:20cv726

82    Wsou Investments Llc V. Hewlett Packard Enterprise Company       8/12/2020 6:20cv727

83    Wsou Investments Llc V. Hewlett Packard Enterprise Company       8/12/2020 6:20cv725

84    Wsou Investments Llcv. Hewlett Packard Enterprise Company        8/12/2020 6:20cv730

85    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv582

86    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv585

87    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv579

88    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv571

89    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv581

90    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv577

91    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv580

92    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv573

93    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv572

94    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv583

95    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv575

96    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv574

97    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv584

98    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv578

99    Wsou Investments Llc V. Google Llc                               6/29/2020 6:20cv576

100   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al      6/17/2020 6:20cv539

101   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al      6/17/2020 6:20cv533

102   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al      6/17/2020 6:20cv534
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103   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al           6/17/2020 6:20cv541

104   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al           6/17/2020 6:20cv542

105   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al           6/17/2020 6:20cv536

106   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al           6/17/2020 6:20cv537

107   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al           6/17/2020 6:20cv535

108   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al           6/17/2020 6:20cv538

109   Wsou Investments Llc V. Huawei Technologies Co., Ltd. Et Al           6/17/2020 6:20cv540

110   Wsou Investments Llc V. Huawei Investment & Holding Co., Ltd. Et Al   6/17/2020 6:20cv544

111   Wsou Investments Llc V. Huawei Investment & Holding Co., Ltd. Et Al   6/17/2020 6:20cv543

112   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv488

113   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv491

114   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv487

115   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv490

116   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv489

117   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv497

118   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv492

119   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv493

120   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv494

121   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv496

122   Wsou Investments Llc V. Zte Corporation Et Al                          6/3/2020 6:20cv495

123   Wsou Investments Llc V. Microsoft Corporation                          6/2/2020 6:20cv464

124   Wsou Investments Llc V. Microsoft Corporation                          6/2/2020 6:20cv465

125   Wsou Investments Llc V. Microsoft Corporation                          6/2/2020 6:20cv463

126   Wsou Investments Llc V. Microsoft Corporation                          6/2/2020 6:20cv460

127   Wsou Investments Llc V. Microsoft Corporation                          6/2/2020 6:20cv455

128   Wsou Investments Llc V. Microsoft Corporation                          6/2/2020 6:20cv454
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129   Wsou Investments Llc V. Microsoft Corporation                      6/2/2020 6:20cv462

130   Wsou Investments Llc V. Microsoft Corporation                      6/2/2020 6:20cv457

131   Wsou Investments Llc V. Microsoft Corporation                      6/2/2020 6:20cv459

132   Wsou Investments Llc V. Microsoft Corporation                      6/2/2020 6:20cv461

133   Wsou Investments Llc V. Microsoft Corporation                      6/2/2020 6:20cv458

134   Wsou Investments Llc V. Microsoft Corporation                      6/2/2020 6:20cv456

135   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv478

136   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv485

137   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv482

138   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv476

139   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv479

140   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv481

141   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv477

142   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv473

143   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv475

144   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv486

145   Wsou Investments Llc V. Dell Technologies Inc. Et Al               6/2/2020 6:20cv480

146   Wsou Investments Llcv. Dell Technologies Inc. Et Al                6/2/2020 6:20cv474

147   Wsou Investments Llc D/B/A Brazos Licensing And Development V.    5/21/2020 6:20cv417
      Dell Technologies Inc. Et Al
148   Wsou Investments Llc D/B/A Brazos Licensing And Development V.    5/21/2020 6:20cv418
      Dell Technologies Inc. Et Al
149   Wsou Investments Llc V. Dell Technologies Inc. Et Al              5/20/2020 6:20cv410

150   Wsou Investments Llc V. Dell Technologies Inc. Et Al              5/20/2020 6:20cv412

151   Wsou Investments, Llc V. Dell Technologies Inc. Et Al             5/19/2020 6:20cv409

152   Wsou Investments, Llc V. Dell Technologies Inc. Et Al             5/19/2020 6:20cv408

153   Wsou Investments, Llc V. Dell Technologies Inc. Et Al             5/19/2020 6:20cv407

154   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.   5/19/2020 6:20cv406
      Dell Technologies Inc. Et Al
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155   Wsou Investments, Llc And Development V. Dell Technologies Inc. Et   5/19/2020 6:20cv404
      Al
156   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      5/18/2020 6:20cv403
      Dell Inc. Et Al
157   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/29/2020 6:20cv344
      Microsoft Corporation
158   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/29/2020 6:20cv341
      Microsoft Corporation
159   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/29/2020 6:20cv346
      Microsoft Corporation
160   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/29/2020 6:20cv340
      Microsoft Corporation
161   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/29/2020 6:20cv345
      Microsoft Corporation
162   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/29/2020 6:20cv342
      Microsoft Corporation
163   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/28/2020 6:20cv334
      Microsoft Corporation
164   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/28/2020 6:20cv333
      Microsoft Corporation
165   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/28/2020 6:20cv337
      Microsoft Corporation
166   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/28/2020 6:20cv335
      Microsoft Corporation
167   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/27/2020 6:20cv332
      Microsoft Corporation
168   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      4/27/2020 6:20cv331
      Microsoft Corporation
169   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/31/2020 6:20cv254
      Zte Corporation Et Al
170   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/31/2020 6:20cv255
      Zte Corporation Et Al
171   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/27/2020 6:20cv238
      Zte Corporation Et Al
172   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/27/2020 6:20cv240
      Zte Corporation Et Al
173   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/27/2020 6:20cv242
      Zte Corporation Et Al
174   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/26/2020 6:20cv228
      Zte Corporation Et Al
175   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/26/2020 6:20cv229
      Zte Corporation Et Al
176   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.      3/26/2020 6:20cv231
      Zte Corporation Et Al
177   Wsou Investments Llc V. Zte Corporation Et Al                        3/25/2020 6:20cv224

178   Wsou Investments, Llc V. Zte Corporation Et Al                       3/24/2020 6:20cv216

179   Wsou Investments, Llc V. Zte Corporation Et Al                       3/23/2020 6:20cv211

180   Wsou Investments, Llc Et Al                                          3/22/2020 6:20cv209
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181   Wsou Investments, Llc V. Huawei Technologies Co., Ltd. Et Al        3/20/2020 6:20cv204

182   Wsou Investments, Llc V. Huawei Investment & Holding Co., Ltd. Et   3/20/2020 6:20cv205
      Al
183   Wsou Investments, Llc V. Huawei Technologies Company, Ltd. Et Al    3/18/2020 6:20cv199

184   Wsou Investments, Llc V. Huawei Investment & Holding Co., Ltd. Et   3/18/2020 6:20cv198
      Al
185   Wsou Investments, Llc V. Huawei Investment & Holding Co., Ltd. Et   3/18/2020 6:20cv196
      Al
186   Wsou Investments, Llc Et Al                                         3/16/2020 6:20cv192

187   Wsou Investments, Llc, Et Al                                        3/16/2020 6:20cv190

188   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.     3/16/2020 6:20cv191
      Huawei Investment & Holding Co., Ltd. Et Al
189   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.     3/16/2020 6:20cv189
      Huawei Investment & Holding Co., Ltd. Et Al
190   Wsou Investments, Llc D/B/A Brazos Licensing And Development V.     3/14/2020 6:20cv188
      Huawei Investment & Holding Co., Ltd. Et Al
191   Filing Error                                                        3/13/2020 6:20cv186

192   Filing Error                                                        3/13/2020 6:20cv187
